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              UNITED STATES DISTRICT COURT
                 DISTRICT OF NEW JERSEY
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UNITED STATES OF AMERICA                  :    Hon. Edward S. Kiel
                                          :
           v.                             :    Mag. No. 20-15474
                                          :
HATEM GHOUNEIM                            :    CRIMINAL COMPLAINT
                                          :


       I, Special Agent Elizabeth Hornberger, being duly sworn, state that the
following is true and correct to the best of my knowledge and belief:

                            SEE ATTACHMENT A

      I further state that I am a Special Agent with the Federal Bureau of
Investigation, and that this complaint is based on the following facts:

                            SEE ATTACHMENT B

continued on the attached pages and made a part hereof.


                        _______________________________________________
                        Special Agent Elizabeth Hornberger
                        Federal Bureau of Investigation


Special Agent Hornberger attested to this Complaint by telephone pursuant to
Federal Rule of Criminal Procedure 4.1(b)(2)(A) on November 9, 2020, in New
Jersey.



HONORABLE EDWARD S. KIEL                       _____________________________
                                                /s Edward S. Kiel
UNITED STATES MAGISTRATE JUDGE                 Signature of Judicial Officer
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                               ATTACHMENT A

                                  Count One
                                 (Wire Fraud)

      From in or around January 2019 through at least in or around
December 2019, in Hudson County, in the District of New Jersey and
elsewhere, the defendant,

                             HATEM GHOUNEIM,

did knowingly and intentionally devise a scheme and artifice to defraud, and to
obtain money and property from the Ride Sharing Business by means of
materially false and fraudulent pretenses, representations, and promises, and,
for the purpose of executing such scheme and artifice, did knowingly and
intentionally transmit and cause to be transmitted by means of wire
communications in interstate commerce, certain writings, signs, signals,
pictures, and sounds, as specified in the table below.

   Count     Approximate Date      Description
   1         November 3, 2019      Ghouneim fraudulently created the
                                   Victim 1 False Account via the Ride
                                   Sharing      Business’s     smartphone
                                   application while in or around Jersey
                                   City, New Jersey, resulting in an
                                   interstate wire transmission.

      In violation of Title 18, United States Code, Section 1343 and Section 2.
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                                   Count Two
                            (Aggravated Identity Theft)

      In or around November 2019, in Hudson County, in the District of New
Jersey and elsewhere, the defendant,

                              HATEM GHOUNEIM,

knowingly did transfer, possess, and use, without lawful authority, a means of
identification of another person, specifically Victim 1, during and in relation to a
felony violation of a provision contained in Chapter 63 of the United States Code,
that is, wire fraud, in violation of Title 18, United States Code, Section 1343,
knowing that the means of identification belonged to another actual person.

      In violation of Title 18, United States Code, Sections 1028A(a)(1) and 2.
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                               ATTACHMENT B

      I, Elizabeth Hornberger, am a Special Agent with the Federal Bureau of
Investigation. I have knowledge of the following facts based upon both my
investigation and discussions with other law enforcement personnel and others.
Because this affidavit is being submitted for the limited purpose of establishing
probable cause to support the issuance of a complaint, I have not set forth each
and every fact that I know concerning this investigation. Where statements of
others are related herein, they are related in substance and part. Where I assert
that an event took place on a particular date, I am asserting that it took place
on or about the date alleged.

                      Relevant Entities and Individuals

      1.   At all times relevant to this Complaint, unless otherwise indicated:

           a.    Defendant Hatem Ghouneim (“Ghouneim”) resided in or
around Jersey City, New Jersey, and Astoria, New York.

            b.   The Ride Sharing Business was a technology company
headquartered in San Francisco, California, with servers in California, Arizona,
and Virginia.

            c. Victim 1 was a resident of Little Falls, New Jersey.

            d. Victim 2 was a resident of Jersey City, New Jersey.

                                   Overview

      2. Throughout at least in or around 2019, Ghouneim engaged in a
scheme to fraudulently obtain referral fees from the Ride Sharing Business.
Ghouneim created fraudulent delivery driver accounts—using stolen identities—
with the Ride Sharing Business in order to induce the Ride Sharing Business to
pay him referral fees for each new fraudulent account. Through this scheme,
Ghouneim defrauded the Ride Sharing Business of hundreds of thousands of
dollars in referral fees.

                                  Background

The Ride Sharing Business

      3. The Ride Sharing Business owned a peer-to-peer ride sharing
business division that operated in over seven hundred cities around the world.
Through the Ride Sharing Business’s smartphone application, users requested
rides and were then paired with eligible drivers who met both the Ride Sharing
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Business’s internal criteria as well as the eligibility criteria of the relevant
jurisdiction.

      4. The Ride Sharing Business also offered—as relevant here—a delivery
service whereby users ordered food through the application from partner
restaurants to be delivered by eligible delivery carriers (the “Delivery Carriers”).
In order to receive delivery requests, pursuant to the Ride Sharing Business’s
internal criteria, Delivery Carriers operating a vehicle were required to possess a
valid driver’s license, registration, and insurance, have access to a vehicle less
than twenty years old, and have at least one year of driving experience. Delivery
Carriers were required to provide an email address and the phone number for
the smartphone that would be used to operate the Ride Sharing Business’s
smartphone application.

      5. In order to grow its platform, the Ride Sharing Business frequently
employed referral promotions. Per the Ride Sharing Business’s referral rules
posted on its website, in order to refer another individual to create an account
with the Ride Sharing Business, the referrer was required to have an account in
good standing and not have multiple accounts for a given Ride Sharing Business
service. Individuals participating in the referral program could earn various
“Referral Rewards,” including cash, by inviting a new user, who met the Ride
Sharing Business’s criteria for using the application and completed the actions
required by the specific referral program.

       6. The Ride Sharing Business often offered greater “Referral Rewards”
for referring new accounts in areas where there were relatively less existing
accounts, such as Houston, Texas.

                            The Scheme to Defraud

       7. Ghouneim created hundreds of fraudulent accounts with the Ride
Sharing Business using stolen identities in order to obtain Referral Rewards.
Ghouneim’s scheme was designed to circumvent the Ride Sharing Business’s
Delivery Carrier screening process and Referral Rewards rules. Ghouneim
achieved this fraud by submitting to the Ride Sharing Business copies of either
stolen driver’s licenses or altered driver’s licenses containing stolen personal
information. Through these means, Ghouneim fraudulently obtained hundreds
of thousands of dollars in Referral Rewards from the Ride Sharing Business.
Ghouneim often listed the fraudulent accounts as operating in areas where the
referral rewards were higher, such as Houston and Seattle.

       8. Many of the fraudulent accounts used by Ghouneim in furtherance
of the scheme included either 1) photographs bearing his likeness, 2) a common
telephone number, or 3) an email account containing his name. The fraudulent
Ride Sharing Business accounts were created by a limited number of
smartphone devices, which location data showed were present in both Astoria,
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New York, and Jersey City, New Jersey, where Ghouneim had known addresses,
including one device named “Hatem’s iPhone” that was linked to approximately
193 fraudulent accounts.

      9. Below are examples of fraudulent accounts Ghouneim used in
furtherance of the scheme:

Victim 1

           a. On or about November 3, 2019, Ghouneim fraudulently created a
              Ride Sharing Business account using the name and date of birth
              of Victim 1, but which listed a profile picture of Ghouneim and a
              photograph of a New York driver’s license bearing Ghouneim’s
              likeness with Victim 1’s information (the “Victim 1 False
              Account”). The Victim 1 False Account also listed a telephone
              number ending in 2620 (the “2620 Number”), a bank account
              ending in 5351 (the “5351 Account”), and email address
              hatemc7[at]gmail.com.

           b. The smartphone used to create the Victim 1 False Account was
              located in or around Jersey City, New Jersey, at the time of
              account creation, and thus caused transmission of an interstate
              wire to the Ride Sharing Business’s servers in California, Arizona,
              or Virginia.

           c. In addition, in or around that same time, Ghouneim also created
              approximately ten other Ride Sharing Business accounts in
              Victim 1’s name, each listing the 2620 Number and an iteration
              of a similar email account (e.g., hatemc6[at]gmail.com). At least
              one of these accounts was created using “Hatem’s iPhone.”

           d. On or about November 9, 2019, a Ride Sharing Business account
              in the name of “Hatem Hatem”, listing the 2620 Number and email
              address hatemn2[at]gmail.com, received a Referral Reward of
              approximately $600 to the 5351 Account, as a result of a referral
              for the Victim 1 False Account to be a Delivery Carrier in Houston.
              The profile picture for the “Hatem Hatem” account also bore
              Ghouneim’s likeness.

           e. Law enforcement subsequently interviewed Victim 1 who stated
              that he had never signed up for an account with the Ride Sharing
              Business nor authorized anyone else to do so using his
              information.
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Victim 2

           f. On or about November 10, 2019, Ghouneim fraudulently created
              a Ride Sharing Business account using the name and date of birth
              of Victim 2, but which listed a profile picture of Ghouneim and a
              photograph of a New York driver’s license bearing Ghouneim’s
              likeness with Victim 2’s information (the “Victim 2 False
              Account”). The Victim 2 False Account also listed the 2620
              Number, and email address hatemc24[at]gmail.com.

           g. In addition, in or around that same time, Ghouneim also created
              approximately five other Ride Sharing Business accounts in
              Victim 2’s name, each listing the 2620 Number and most listing
              an    iteration     of  a    similar   email   account     (e.g.,
              hatemc26[at]gmail.com). At least one of these accounts was
              created using “Hatem’s iPhone.”

           h. On or about November 16, 2019, a Ride Sharing Business account
              in the name of “Tiyi Fyii,” who also listed the 2620 Number,
              received a Referral Reward of approximately $600, as a result of a
              referral of the Victim 2 False Account to be a Delivery Carrier in
              Houston.

           i. Law enforcement subsequently interviewed Victim 2 and she
              stated that while she had an account with the Ride Sharing
              Business, she signed up for the Ride Sharing Business on her own
              and had nothing to do with any referrals.

     10. Records from a telephone provider indicated that from in or around
October 13, 2019, through in or around February 16, 2020, the 2620 Number
was subscribed to email address hatemv6[at]gmail.com and username
“hatemv6”.

      11. In or around 2019, Ghouneim fraudulently obtained numerous
payments from the Ride Sharing Business to at least one bank account held in
his name from which he personally withdrew money, as seen from bank
surveillance images.
